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Local AO 470 (Rev. 11/16) Order Scheduling a Hearing



                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District of North Dakota

                  United States of America                      )
                             v.                                 )        Case No.
                                                                                    1:21-cr-176
                 Christopher Scott Davis-Jenkins                )
                                                                )
                                                                )

                                                       ORDER SCHEDULING

                      PRETRIAL RELEASE REVOCATION HEARING AND ARRAIGNMENT
          A hearing in this case is scheduled as follows:

Type: Pretrial Release Revocation Hearing                           Date and Time: March 21, 2023, at 1:30 pm
           Arraignment
Place: U.S. Federal Courthouse                                      Courtroom No.:
                                                                             by telephone

        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:           03/20/2023                                                        /s/ Clare R. Hochhalter
                                                                                             Judge’s signature


                                                                              Clare R. Hochhalter, Magistrate Judge
                                                                                           Printed name and title
